AO 106(Rev.Case     1:19-sw-00118-MSN
           04/10) Application for a Search Warrant       Document 1 Filed 02/22/19 Page 1 of 29 PageID# 1


                                     United States Dh^t^^ourt
                                                                    for the

                                                         Eastern District of Virginia        2 2 '013
             In the Matter ofthe Search of
                                                                                                . _ .mJoOrt
         (Briefly describe the property to be searched
          or identify the person by name and address)                            Case No.
      Information related to an account described in
 Attachment A that is stored in premises controlled by
                      Google LLC

                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
pr^erty^ b^earc^e^and give its location):

located in the             Northern               District of            California              there is now concealed (identify the
person or describe the property to be seized)'.
 See attachment B



          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                isf evidence ofa crime;
                sfcontraband,fhiits ofcrime, or other items illegally possessed;
                af property designed for use, intended for use, or used in committing a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of;

             Code Section                                                        Offense Description
        18 U.S.C. §§ 2252(a)(1) and                Transportation of visual depictions of minors engaged in sexually explicit
        (b)(1)                                     conduct
        18 U.S.C. § 2252(a)(4)(B)                  Possession of child pornography
          The application is based on these facts:
        See attached affidavit


           fif Continued on the attached sheet.
           □ Delayed notice of        days (give exact ending date if more than 30 days:                                ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached^he^


                                                                                               Applicant's signature

                                                                                         Ted P. Delacourt, Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
                                                                                                   Isl
             0/ 11                                                                                            iA/t
Date:
                          iX                                                     MinhaQl S. Nachmanoff
                                                                                 United States-ftft^fs
City and state: Alexandria. Virginia                                                    The Honorable Michael Nachmanoff
                                                                                               Printed name and title
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                                    ATTACHMENT A


                 DESCRIPTION OF THE ITEMS TO BE SEARCHED


      This warrant applies to information associated with the account

yassernader93@gmaO.com which are stored at premises owned, maintained, controlled, or

operated by Google,LLC,an e-mail provider headquartered at 1600 Amphitheatre Parkway

Moimtain View,OA 94043.
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                                         ATTACHMENTS


                                          Items to be Seized


I.        Information to be disclosed:


          To the extent that the infoimation described in Attachment A is within the possession,

custody, or control of Google,LLC,headquartered at 1600 Amphitheatre Parkway Mountain

View, CA 94043 for the account or identifiers listed in Attachment A:

     a.      The contents of all e-mails stored in the account(including attachments), including

             copies ofe-mails sent to and from the account, draft e-mails, the source and

             destination addresses associated with each e-mail, the date and time at which each e-

             mail was sent, and the size and length ofeach e-mail;

     b.      Any deleted emails,including any information described in subparagraph "a," above;

     c.      All records or other information regarding the identification ofthe account, to include

             full name,physical address, telephone numbers and other identifiers, records of

             session times and durations, the date on which the account was created, the length of

             service,the types ofservice utilized, the IP address used to register the account,log

             in IP addresses associated with session times and dates, account's status, alternative

             e-mail addresses provided during registration, methods ofconnecting,log files, and

             means and source ofpayment(including any credit or bank account number);

     d.      All records or other information stored by the account,including but not limited to,

             push tokens, chat logs, address books, contact and buddy lists, calendar data, pictures,

             videos and files;

     e.      The content of any and all cloud storage account;

     f.      All records pertaining to voice transactions/calls;
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      g.        All records pertaining to conmiunications between Google and any person regarding

                the account, including contacts with support services and records ofactions taken.


II.        Information to be seized by the government

           1.       All information described above in Section I, including correspondence, records,

documents,photographs, videos, electronic mail, chat logs, and electronic messages that

constitutes fruits, evidence and instrumentalities ofviolations of 18 U.S.C. §§ 2252(a)(1)and

(b)(1)(transportation of visual depictions of minors engaged in sexually explicit conduct);

2252(a)(2)and(b)(1)(receipt and distribution of visual depictions of minors engaged in sexually

exphcit conduct); 2252(a)(4)(B) and (b)(2)(possession ofand access with intent to view a visual

depiction ofa minor engaged in sexually explicit conduct); 2252A(a)(l) and (b)(1)

(transportation of child pomography); 2252A(a)(2)(A) and (b)(1)(distribution and receipt of

child pomography); and 2252A(a)(5)(B)and (b)(2)(possession ofand access with intent to view

child pomography)including,for each account or identifier listed on Attachment A,information

pertaining to the following matters, including attempting and conspiring to engage in the

follovring matters:

                     a. Any and all data, records, communications or information reflecting

                         evidence, fruits, instrumentalities, and contraband of the crimes listed

                         above;

                2. Credit card and other financial information including but not limited to bills and

                   payment records; .

                3. Evidence of who used, owned, or controlled the account or identifiers listed on

                   Attachment A;

                4. Evidence ofthe times the accoimt or identifiers listed on Attachment A was used;
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      5.. Passwords and encryption keys, and other access information that may be

         necessary to access the account or identifiers listed on Attachment A and other

         associated account.
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                      IN THE UNITED STATES DISTRICT COURT FOR THE'
                             EASTERN DISTRICT OF VIRGINIA                 I
                                                                                      Fffi2 220l9
                                       Alexandria Division
                                                                              '^l.r        ; :      COURT ;
                                                                                          •' :!A. V'RGINIAJ

I IN RE SEARCH OF:
INFORMATION RELATED TO
AN ACCOUNT DESCRIBED IN                                      UNDER SEAL
ATTACHMENT A THAT IS STORED
IN PREMISES CONTROLLED BY                                    CRIMINAL NO.: 1:19-SW-118
GOOGLE,LLC



                  AFFIDAVIT IN SUPPORT OF A SEARCH WARRANT


              I, Ted P. Delacourt, a Special Agent with the Federal Bureau ofInvestigation

(FBI), Washington Field Division, Washington, D.C., being duly sworn, depose and state as

follows:

                                          INTRODUCTION


       1.     Your Affiant has been employed the FBI since September of2004, and as a

Special Agent since September 2005. Since 2005,1 have received training and experience in

interviewing and interrogation techniques, and arrest and search procedures. I was assigned as a

Special Agent in the Jacksonville Division in January 2006, where I worked counterterrorism

and intelligence-gathering operations for approximately three years. I was assigned to the

Washington Field Office in May 2009 and charged with investigating international corruption,

specifically violations ofthe Foreign Corrupt Practices Act(FCPA), as well as antitrust

violations. In January 2009,1 was promoted to Supervisory Special Agent and assigned to the

Counterterrorism Division of FBI Headquarters, specifically to the National Joint Terrorism Task

Force. In August 2012,1 transferred within the Counterterrorism Division to the Intemational

Operations Section I, Continental US Unit V, where I managed Intemational Terrorism
                                                1
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investigations in the Phoenix Division. I am currently assigned to the Washington Field Office,

Northern Virginia Resident Agency, Child Exploitation Task Force. Sincejoining the FBI, I

have investigated violations offederal law. As a federal agent, I am authorized to investigate

violation oflaws ofthe United States and as a law enforcement officer I am authorized to


execute warrants issued imder the authority ofthe United States. Since September 2014,1 have

been assigned to investigate violations oflaw concerning the sexual exploitation ofchildren,

including child pornography and child sex trafficking. I have gained experience through both

formal and on-the-job training in conducting these types ofinvestigations.

        2.      I am familiar with the information contained in this Affidavit based upon the

investigation I have conducted, which included conversations with law enforcement officers and

others and review ofreports and database records.

        3.      This Affidavit is made in support ofan application for a search warrant for

information associated with the account yassernader93@gmail.com which is stored at premises

owned, maintained, controlled, or operated by Google, LLC,an e-mail provider headquartered at

1600 Amphitheatre Parkway Mountain View,CA 94043 and more fully described in Attachment

A:


             a. Digital content provided by Google, LLC for Google ID:

                yassernader93@gmail.com

        4.      This Affidavit is made in support of an application for a search warrant xmder 18

U.S.C. §§ 2703(a), 2703(b)(1)(A)and 2703(c)(1)(A)to require the Communication Account

provider, specified in Attachment A,to disclose to the government records and other information

in its possession pertaining to the subscriber or customer associated with the listed account

described in Attachment A,included in the contents ofcommunications. As to the account, the
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evidence and information to be searched is described in the following paragraphs and in

Attachments A and B,and there is probable cause to believe that the account constitutes and/or

contains evidence, fruits, contraband, instrumentalities of violations of 18 U.S.C. §§ 2252(a)(1)

and (b)(1)(transportation of visual depictions of minors engaged in sexually explicit conduct);

2252(a)(2)and (b)(1)(receipt and distribution of visual depictions of minors engaged in sexually

explicit conduct); 2252(a)(4)(B)and (b)(2)(possession ofand access with intent to view a visual

depiction ofa minor engaged in sexually explicit conduct); 2252A(a)(l) and (b)(1)

(transportation ofchild pornography); 2252A(a)(2)(A) and (b)(1)(distribution and receipt of

child pornography); and 2252A(a)(5)(B) and (b)(2)(possession of and access with intent to view

child pornography).

       5.      The information in this Affidavit is based on my investigation, training,

knowledge,and experience, and through information that has been related to me through data,

reports and other officers or agents involved in this investigation and related subject area.

       6.      This Affidavit contains information necessary to support probable cause for this

Application. It is not intended to include each and every fact and matter observed by me, other

law enforcement officers, or known to the government. Not every fact known to this

investigation or by the govenunent is set forth in this Affidavit. Additionally, unless otherwise

noted, wherever in this Affidavit I assert that a statement was made by an individual, that

statement is described in substance, and in part, and is not intended to be a verbatim recitation of

the entire statement.


                           RELEVANT FEDERAL CRIMINAL STATUTES

        7.     Title 18, United States Code, Section 2252(a)(1)and (b)(1) prohibits the knowing

transportation or shipment ofany visual depiction of minors engaging in sexually explicit
                                                  3
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conduct using any means or facility ofinterstate or foreign commerce or in or affecting interstate

commerce by any means, including by computer.

       8. ' Title 18, United States Code, Section 2252(a)(2) and (b)(1) prohibits the knowing

receipt or distribution of any visual depiction of minors engaging in sexually explicit conduct

that has been mailed or shipped or transported in or affecting interstate or foreign commerce, by

any means,including by computer.

       9.      Title 18, United States Code, Section 2252(a)(4)(B) and (b)(2)prohibits the

possession ofone or more books, magazines, periodicals, films, or other materials which contain

any visual depictions of minors engaged in sexually explicit conduct that have been transported

using any means or facility ofinterstate or foreign commerce or in or affecting interstate or

foreign commerce or that were produced using materials that had traveled in interstate or foreign

commerce, by any means,including by computer.

       10.     Title 18, United States Code, Section 2252A(a)(l) and (b)(1)prohibits the

knowing mailing, or transportation or shipment using any means or facility ofinterstate or

foreign commerce or in or affecting interstate or foreign commerce by any means,including by

computer, ofany child pornography.

       11.     Title 18, United States Code, Section 2252A(a)(2) and (b)(1) prohibits the

knowing receipt or distribution of any child pornography that has been mailed or shipped or

transported using any means or facility ofinterstate or foreign commerce or in or affecting

interstate or foreign commerce by any means,including by computer.

       12.     Title 18, United States Code, Section 2252A(a)(5)(B)and (b)(2) prohibits the

knowing possession of any book, magazine, periodical, film, videotape, computer disk, or other

material that contains an image of child pomography that has been mailed, or shipped or
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transported using any means or facility ofinterstate or foreign commerce or in or affecting

interstate or foreign commerce by any means,including by computer, or that was produced using

materials that have been mailed, or shipped or transported in interstate or foreign commerce by

any means,including by computer.

              INFORMATION ABOUT GOOGLE AND GOOGLE ACCOUNTS

       13.     Google, LLC (hereinafter "the email provider") hosts email accounts,including

"gmail" accounts. In my training and experience, I have learned that email providers provide a

variety ofonline services, including email access, to the general public. Google allows

subscribers to obtain email accounts at the domain name gmail.com. Subscribers obtain an

account by registering with the email provider. During the registration process, the email

provider asks subscribers to provide basic personal information. Therefore, the computers ofthe

email provider are likely to contain stored electronic communications(including retrieved and

retrieved email for the email provider's subscribers) and information concerning subscribers and

their use ofthe email provider's services, such as account access information, the email

transaction information, and accoxmt application information.

       14.     In general, an email that is sent to the email provider's subscriber is stored in the

subscriber's "mail box" on the email provider's servers until the subscriber deletes the email. If

the subscriber does not delete the message,the message can remain on the email provider's

servers indefinitely.

        15.    When the subscriber sends an email, it is initiated at the user's computer,it is

transferred via the Internet to the email provider's servers, and then transmitted to its end

destination. The email provider often saves a copy ofthe email sent. Unless the sender ofthe
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email specifically deletes the email from the email provider's server, the email can remain on the

system indefinitely.

        16.    A sent or received email typically includes the content ofthe message,source and

destination addresses, the date and time at which the email was sent, and the size and length of

the email. If an email user writes a draft message but does not send it, that message may also be

saved by the email provider but may not include all ofthese categories of data.

        17.    A subscriber ofthe email provider can also store files, including emails, address

books,contact or buddy lists, calendar data, pictures, and other files, on servers maintained

and/or owned by the email provider.

        18.    In my experience, subscribers do not routinely copy emails stored in their email

account in order to store the emails on a home computer or other location, although it is possible

to do so. This is particularly true when they access their email account through the web,or if

they do not wish to maintain particular emails or files in their residence.

        19.    In general, email providers like Google ask each oftheir subscribers to provide

certain personal identifying information when registering for an email account. This information

can include the subscriber's full name,physical address, telephone numbers and other identifiers,

alternative email addresses, and,for paying subscribers, means and source ofpayment(including

any credit or bank account number).

       20.     Email providers typically retain certain transactional information about the

creation and use ofeach account on their systems. This information can include the date on

which the account was created, the length ofservice, records oflog-in (i.e., session)times and

durations, the types ofservice utilized, the status ofthe account(including whether the accoimt is

inactive or closed), the methods used to connect to the account(such as logging into the account
                                                 6
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via the email provider's website), and other log files that reflect usage ofthe account. In

addition, email providers often have records ofthe Internet Protocol address("IP address") used

to register the account and the IP addresses associated with particular logins to the account.

Because every device that connects to the Internet must use an IP address, IP address information

can help to identify which computers or other devices were used to access the email account.

       21.     In some cases, email account users will communicate directly with an email

service provider about issues relating to the account, such as technical problems, billing

inquiries, or complaints from other users. Email providers typically retain records about such

communications,including records of contacts between the user and the provider's support

services, as well records of any actions taken by the provider or user as a result ofthe

communications.


       22.     In my training and experience, evidence of who was using an email accoimt may

be foxmd in address books, contact or buddy lists, emails in the accoimt, and attachments to

emails, including pictures and files. Often online bills and other receipts will be sent to an email

account, providing further user attribution evidence tied to the account and demonstrating who is

ultimately committing the crimes under investigation.

                                         DEFINITIONS


       23.     The following definitions apply to this Affidavit and its Attachments:

       24.     "Chat," as used herein, refers to any kind oftext communication over the Internet

that is transmitted in real-time from sender to receiver. Chat messages are generally short in

order to enable other participants to respond quickly and in a format that resembles an oral

conversation. This feature distinguishes chatting from other text-based online communications

such as Internet forums and email.
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       25.     "Child erotica," as used herein, means materials or items that are sexually

arousing to persons having a sexual interest in minors but that are not necessarily obscene or do

not necessarily depict minors in sexually explicit poses or positions.

       26.     "Child pornography," as defined in 18 U.S.C. § 2256(8),is any visual depiction of

sexually explicit conduct where(a)the production ofthe visual depiction involved the use of a

minor engaged in sexually explicit conduct,(b)the visual depiction is a digital image,computer

image, or computer-generated image that is, or is indistinguishable from,that ofa minor engaged

in sexually explicit conduct, or(c)the visual depiction has been created, adapted, or modified to

appear that an identifiable minor is engaged in sexually explicit conduct.

       27.     "Computer," as used herein, refers to "an electronic, magnetic, optical,

electrochemical, or other high speed data processing device performing logical or storage

fimctions, and includes any data storage facility or communications facility directly related to or

operating in conjunction with such device" and includes smartphones, and mobile phones and

devices. See 18 U.S.C. § 1030(e)(1).

       28.     "Intemet Protocol address" or "IP address," as used herein, refers to a imique

number used by a computer or other digital device to access the Intemet. IP addresses can be

"dynamic," meaning that the ISP assigns a different unique number to a computer every time it

accesses the Intemet. IP addresses might also be "static," if an ISP assigns a user's computer a

particular IP address that is used each time the computer accesses the Intemet.

       29.     "Intemet Service Providers"("ISPs"), as used herein, are commercial

organizations that are in business to provide individuals and businesses access to the Intemet.

ISPs provide a range offimctions for their customers including access to the Intemet, web
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hosting, e-mail, remote storagd, and co-location of computers and other communications

equipment.                                                             ^

       30.     "Minor," as defined in 18 U.S.C. § 2256(1), refers to any person under the age of

eighteen years.

       31.     "Records,""documents," and "materials," as used herein, include all information

recorded in any form, visual or aural, and by any means, whether in handmade,photographic,

mechanical, electrical, electronic, or magnetic form.

       32.     "Sexually explicit conduct," as defined in 18 U.S.C. § 2256(2), means actual or

simulated(a)sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal,

whether between persons ofthe same or opposite sex;(b)bestiality;(c) masturbation;(d)sadistic

or masochistic abuse; or(e)lascivious exhibition ofthe genitals or pubic area of any person.

       33.     "Visual depiction," as defined in 18 U.S.C.§ 2256(5), includes undeveloped film

and videotape, data stored on computer disc or other electronic means which is capable of

conversion into a visual image,and data which is capable ofconversion into a visual image that

has been transmitted by any means, whether or not stored in a permanent format.

              BACKGROUND ON CHILD PORNOGRAPHY.COMPUTERS.
                                THE INTERNET.AND EMAIL


       34.     I have had training in the investigation of computer-related crimes and I have

consulted more senior law enforcement agents on this matter. Based on my training, experience,

and knowledge, I know the following:

       35.     Computers and digital technology have dramatically changed the way in which

individuals interested in child pornography interact with each other. Computers basically serve
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four functions in connection with child pornography: production, communication, distribution,

and storage.

       36.     Child pomographers can now transfer printed photographs into a computer-

readable format with a device known as a scanner. Furthermore, with the advent of digital

cameras and smartphones with cameras, when the photograph is taken it is saved as a digital file

that can be directly transferred to a computer by simply connecting the camera or smaitphone to

the computer. In the last ten years, the resolution of pictures taken by digital cameras and

smartphones has increased dramatically, meaning that such pictures have become sharper and

crisper. Photos taken on a digital camera or smartphone may be stored on a removable memory

card in the camera or smartphone. These memory cards often store up to 32 gigabytes of data,

which provides enough space to store thousands of high-resolution photographs.           Video

camcorders, which once recorded video onto tapes or mini-CDs, now can save video footage in a

digital format directly to a hard drive in the camera. The video files can be easily transferred

from the camcorder to a computer.

       37.     A device known as a modem allows any computer to connect to another computer

through the use of telephone, cable, or wireless connection. Electronic contact can be made to

literally millions of computers around the world. The ability to produce child pornography

easily, reproduce it inexpensively, and market it anonymously (through electronic

communications) has drastically changed the method of distribution and receipt of child

pornography. Child pornography can be transferred via electronic mail or throu^ file transfer

protocols(FTPs)to anyone with access to a computer and modem. Because of the proliferation

of commercial services that provide electronic mail service, chat services (i.e., "instant


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messaging"), cloud storage, and easy access to the Internet, the computer is a preferred method

of distribution and receipt ofchild pornographic materials.

       38.     The Internet affords individuals numerous venues for obtaining, viewing, and

trading child pornography in a relatively secure and anonymous fashion.

       39.     Individuals also use online resources to trade, distribute, store, and retrieve child

pornography. The online services allow a user to set up an account with a remote computing

service that provides e-mail services as well as electronic storage ofcomputer files in any variety

of formats. A user can set up an online storage account from any computer with access to the

Internet.


                              UNDERLYING INVESTIGATION


       40.     GEORGE AREF NADER (hereinafter,"NADER")is a citizen ofthe United

States and Lebanon. On February 27,1991, NADER was indicted in the Eastern District of

Virginia for violations related to smuggling child pomography. Title 18, United States Code,

Section 2252(a)(1), by a federal grand jury. The indictment resulted fi'om a seizure of child

pomography at the Washington-Dulles Intemational Airport on July 26,1990 oftwo reels of

video tape concealed in candy tins. On May 6,1991,NADER pled guilty to a single count of

Title 18, Section 2252(a)(1)(transportation ofchild pomography).

       41.     On January 16,2018, Search Warrant 1:18-SW-30 was swom out in the United

States District Court for the Eastem District of Virginia and signed by U.S. Magistrate Judge

Ivan D. Davis. The search warrant pertained to a matter unrelated to child pomography. The

attachments to the search warrant specified the items to be searched as "the person of George

Nader" and "Any baggage associated with George Nader... including but not limited to any

check baggage associated with George Nader on flight EF 231 as well as any carry-on baggage,
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including but not limited to any briefcase, satchel, or duffel bag." The items to be seized

included "Any eleehronic devices capable ofstoring, transmitting, or receiving information,

including but not limited to: Cellular telephone. Tablet, Laptop ...

       42.      On January 17,2018, NADER departed Dubai, United Arab Emirates on a direct

flight aboard Emirates Airlines Flight 231 and arrived the same day at Washington-Dulles

International Airport in Dulles, Virginia. Washington-Dulles International Airport is located in

the Eastem District of Virginia.

       43.      Upon arrival at Washington-Dulles International Airport, NADER declared to an

agent from the United States Customs and Border Protection he was in possession ofthree

iPhones. NADER was later voluntarily interviewed by FBI agents regarding a matter unrelated

to child pornography. At the conclusion ofthe interview, NADER was informed ofthe existence

ofthe search warrant issued by this Court(1:18-SW-30)and the three iPhones were subsequently

seized. The iPhones seized from NADER were later specifically identified as:

             a. iPhone 5 with serial number F2NJQ55RDTTN;

             b. iPhone 6 with serial number FK1QLB5PGRYD;and

             c. iPhone 7 with serial number F2LSD2XFHFY4.

       44.      On January 17, 2018, Search Warrant 1:18-SC-OOl 14 was sworn out in the United

States District Court for the District of Columbia and signed by Chief U.S. District Court Judge

Beryl A. Howell. The attachments to the search warrant specified the property to be searched as

"iPhone 5 with serial number F2NJQ55RDTTN,iPhone 6 with serial number

FK1QLB5PGRYD,iPhone 6+ with serial number F2LSD2XFHFY4."




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       45.     On January 18, 2018, an order was filed with the United States District Court for

the District of Columbia to correct the identification ofthe iPhone with serial number


F2LSD2XFHFY4 to properly reflect it as an iPhone 7.

       46.     The three iPhones seized from NADER were then forensically processed pursuant

to the sesirch warrant for a matter not involving child pornography. At the completion ofthe

forensic processing, the digital forensic files derived from iPhone 7 with serial number

F2LSD2XFHFY4("IPHONE 7 FILES") were made available to the case agent in that other

matter for review using a forensic software package specifically designed to allow investigators

to review material without risk ofchanging or altering the evidence.

       47.     On February 12,2018,the case agent for that other matter conducted an initial

review ofthe IPHONE 7 FILES for evidence imrelated to child pornography. During that

review, the case agent in that other matter uncovered multiple files which appeared to contain

child pornography. The potential child pornography matter was subsequently referred to my

office, and the case was assigned to your Affiant.

       48.     On March 5, 2018,the IPHONE 7 FILES were saved to a Seagate Hard Drive

Model ST3750640AS with serial Number 5QD502SH. On March 16, 2018, Search Warrant

1:18-SW-154 was sworn out in the United States District Court for the Eastern District of

Virginia and signed by US Magistrate Judge John F. Anderson. The attachments to the search

warrant specified the property to be searched as "digital forensic files derived from the iPhone 7

with serial number F2LSD2XFHFY4 seized from George Aref Nader on January 17,2018

currently located on a Seagate Hard Drive Model ST3750640AS with serial Number 5QD502SH

that is in the custody ofthe Federal Bureau of Investigation in its Northern Virginia Resident

Office, 9325 Discovery Boulevard, Manassas, Virginia 20109." The items to be seized included,
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but were not limited to, fruits, evidence, and instrumentalities of"child pomography and child

erotica."


       49.        Pursuant to the search warrant, your Affiant conducted a review ofthe IPHONE 7

FILES located on a Seagate Hard Drive Model ST3750640AS with serial Number 5QD502SH.

During that review, your Affiant identified the Apple ID for the iPhone 7 with serial munber

F2LSD2XFHFY4 as george.nadirs@gmail.com.

       50.        Also during that review, your Affiant located a number offiles that appear to be

visual depictions of minors engaged in sexually explicit conduct,including:

             d.   Video #1: The video starts with two adult females and then cuts to a


                  prepubescent boy, approximately 7 years old, who is wearing a thawb (an ankle-

                  length Arab garment, usually with long sleeves, similar to a robe, kaftan or tunic).

                  The boy lifts up the thawb exposing his penis. The boy then grabs his penis and

                  shakes it. The boy is laughing as he does this and then drops the thawb over his

                  privates. The video then cuts to an older male. The video has Arabic

                  conversation from the adult females, child, and adult male. The video is 12

                  seconds in length.

             e. Video #2: The video starts with a young boy, approximately three years old,

                  sitting on the floor with a small mechanical toy bunny that appears to knobbing up

                  and down up against the boy's penis. An adult removes the toy and exposes the

                  boy's penis. The boy reacts angrily and cries. The video is 4 seconds in length.

             f.   Video #3: The video is an extended and reedited version of Video #2. The video


                  starts with a boy, approximately three years old, sitting on the floor with a small

                  mechanical toy bunny that appears to knobbing up and down up against the boy's
                                                   14
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            penis. An adult removes the toy and exposes the boy's penis. The child reacts

            angrily and cries. The portion ofthe video when the adult removes the toy,

            exposing the boy's penis causing him to react angrily and cry is repeated twice

            over. The video is approximately 13 seconds in length.

       g. Video #4: The video centers on a boy approximately thirteen(13)to fourteen

            (14) years old seated on a wood plank floor naked from the waist down. A goat is

            lying before him with all four legs tied. The boy appears to penetrate the goat

            from behind with his penis. The goat reacts and makes noise each time the boy

            thrusts. The boy looks at the camera and smiles. The video is 30 seconds in

            length.

       h. Video #5: The video centers on a boy approximately three(3)to four(4) years

            old in a farmyard naked from the waist down. Baby goats surround him. The boy

            looks at the camera before moving a few steps away. The baby goats follow. A

            hand from off screen reaches into frame and lifts the boy's shirt. The baby goats

            move in and suck on his penis. The boy looks at the camera. Laughing is heard.

            The video is 32 seconds in length.

       i.    Video #6: The video centers on a boy approximately four(4)to six (6) years old

            seated in a classroom with other children. The boy has the front of his pants

            pulled down and is masturbating. A voice calls to the boy, who turns to the

            camera before letting go ofhis penis and pulling up his pants. The video is 3

            seconds in length.

       j.    Video#?: The video centers on three boys between the ages ofsix(6)and eight

            (8) years ofage standing naked on a stage. Music plays throughout the video.
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            Individual children approach the boys, touching the genitals ofeach in turn, make

            a gesture, and then walk away. The video is 30 seconds in length,

       k. Video #8: The video centers on a boy approximately three(3)to four(4) years

            old in a chicken coop naked from the waist down. The boy holds a bucket on this

            head while chickens surround him. After a few seconds one ofthe chickens pecks

            at the boy's penis. He cries out in pain and is let out ofthe chicken coop by the

            camera operator. The camera follows the boy. The camera operator speaks to the

            boy in a language other than English and films his tears. The video is 30 seconds

            in length.

       1.    Video #9: The video centers on a boy approximately three(3) years old. The boy

            is seated, wearing a shirt but no pants. The boy holds a pair ofpliers pointed at

            his genitals. Voices are heard speaking in a language other than English. The

            boy snaps the pliers closed on his own genitals and cries out in pain. The voices

            laugh. The video is 6 seconds in length.

       m. Video #10: The video centers on the nude buttocks of a boy approximately two

            (2)to three(3) years old. The boy is lying down on his chest. What appears to be

            a number pad and buttons are drawn in black ink on the boy's buttocks. A voice

            speaks in a language other than English and a finger presses the numbers and

            buttons as ifthe boy were an Automated Teller Machine. The boy spreads his

            legs and currency is removed from under the boy's penis. A child's face appears,

            laughing. The video is 9 seconds in length.

       n. Video #11: The video centers on a boy approximately three(3)to four(4) years

            old seated on a couch sharing a meal on a low table with older people. The boy
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                reaches for something from the table and is quickly pushed onto his back on the

                couch. The crotch ofthe boy's pants splits open revealing his penis. The child

                begins to cry and urinates all over the food on the table. The older people react.

                The video is 6 seconds in length,

             o. Video #12: The video is an extended and reedited version of Video #11. The

                video centers on a boy approximately three(3)to four(4) years old seated on a

                couch sharing a meal on a low table with older people. The boy reaches for

                something from the table and is quickly pushed onto his back on the couch. The

                crotch ofthe boy's pants splits open revealing his penis. The child begins to cry

                and urinates all over the food on the table. The older people react. The video

                changes to black and white and proceeds in slow motion with singing in a

                language other than English, The reedited portion ofthe video when the boy's

                pants split revealing his penis, he cries, and urinates all over the food on the table

                plays twice. The video is 16 seconds in length.

       51.      Legal process was served on Google, LLC,in reference to the

george.nadirs@gmail.com email address, and in response, Google, LLC,identified the name

associated with the account as "George Nadir".

       52.      Legal process was served on Apple, Inc., in reference to Apple ID:

george.nadirs@gmail.com, and in response, Apple, Inc., identified the name associated with the

account as "George Nadir" with the contact email george.nadirs@gmail.com. The legal process

provided by Apple, Inc. also included a second Apple ID of yassernader93@gmail.coin with

the account as "Yasser Nader" with contact email yassernader93@gmaiLcom.


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        53.      Legal process was served on Google, LLC,in reference to the

yassernader93@gmail.com email address, and in response, Google, LLC,identified the name

associated with the account as "Yasser Nader".


        54.     In my training and experience collectors ofchild pornography sometimes utilize

multiple email accounts with which to conduct their illegal activities online.

        55.      On March 24,2018,NADER departed Washington-Dulles International Airport

in Dulles, Virginia Dubai,on a direct flight aboard Emirates Airlines Flight 232 destined for the

United Arab Emirates. As ofthe date ofthis affidavit NADER has not returned to the United

States or its territories.

        56.      On April 19 ,2018, Arrest Warrant 1:18-MJ-196 was sworn out in the United

States District Court for the Eastern District of Virginia and signed by U.S. Magistrate Judge

John F. Anderson. The arrest warrant charged NADER with Title 18, United States Code,

Section 2252(a)(1)and (b)(1) prohibiting the knowing transportation or shipment of any visual

depiction of minors engaging in sexually explicit conduct using any means or facility of

interstate or foreign commerce or in or affecting interstate commerce by any means,including by

computer. The arrest warrant was specifically related to the content located during the review of

the IPHONE 7 FILES described above.


        57.      As NADER'S location is unknovm and likely outside the territory ofthe United

States, he is considered a fugitive from justice.

        58.      In my training and experience individual email accounts may contain evidence

and information which identifies the user's past, present and current locations, travel reward

accounts with air carriers and hoteliers and means ofpayment. Any and all ofthis evidence may

lead to the identification of the user's current location or future travel plans.
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                                           CONCLUSION


          59.     Based upon the above information, I respectfully submit there^^^robable cause to

believe    that   information    associated   with    the   account   described   in   Attachment   A

constitute/contain the fhiits, evidence, instrumentalities and contraband of child pornography

violation of the statutes described herein and as described in Attachment B. Furthermore, I

respectfully submit there is probable cause to believe that information associated with the

account described in Attachment A constitute/contain evidence and information which may

assist in locating a known fugitive.

          60.     This Court has jurisdiction to issue the requested warrant because it is "a court of

competentjurisdiction" as defined by 18 U.S.C. § 2711(3)and 18 U.S.C. §§ 2703(a),(b)(1)(A)

&(c)(1)(A). Specifically, the Court is "a district court ofthe United States... that - has

jurisdiction over the offense being investigated." 18 U.S.C. § 2711(3)(A)(I).




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       61.     Pursuant to 18 U.S.C. § 2703(g), the presence ofa law enforcement officer is not

required for the service or execution ofthis warrant.



                                             Respectfully


                                             Ted P. Delacourt, Special Agent
                                             Federal Bureau ofInvestigation


                                             Approved by: AUSA Laura Pong

 Subscribed and sworn to before me on February 22,2019
               ''s/—m—
 Michael S. Nachmanoffr
 United States Magistrate Judge
 The Honorable Michael S. Nachmanoff
 United States Magistrate Judge




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                                    ATTACHMENT A


                 DESCRIPTION OF THE ITEMS TO BE SEARCHED


      This warrant applies to information associated with the account

yassernader93@gmail.com which are stored at premises owned, maintained, controlled, or

operated by Google,LLC,an e-mail provider headquartered at 1600 Amphitheatre Parkway

Mountain View, CA 94043.
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                                         ATTACHMENT B


                                         Items to be Seized


I.        Information to be disclosed:


          To the extent that the information described in Attachment A is within the possession,

custody, or control of Google, LLC,headquartered at 1600 Amphitheatre Parkway Mountain

View, CA 94043 for the account or identifiers listed in Attachment A:

     a.      The contents of all e-mails stored in the account(including attachments), including

             copies ofe-mails sent to and from the account, draft e-mails, the source and

             destination addresses associated with each e-mail, the date and time at which each e-

             mail was sent, and the size and length ofeach e-mail;

     b.      Any deleted emails,including any information described in subparagraph "a," above;
              v.




     c.      All records or other information regarding the identification ofthe account, to include

             fiill name,physical address, telephone numbers and other identifiers, records of

             session times and durations, the date on which the account was created, the length of

             service,the types ofservice utilized, the IP address used to register the account,log

             in IP addresses associated with session times and dates, account's status, alternative

             e-mail addresses provided during registration, methods ofconnecting, log files, and

             means and source ofpayment(including any credit or bank account number);

     d.      All records or other information stored by the account, including but not limited to ,

             push tokens, chat logs, address books, contact and buddy lists, calendar data, pictures,

             videos and files;

     e.      The content of any and all cloud storage account;

     f.      All records pertaining to voice transactions/calls;
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      g.        All records pertaining to communications between Google and any person regarding

                the account, including contacts with support services and records ofactions taken.


II.        Information to be seized by the government

           1.      All information described above in Section I, including correspondence, records,

documents, photographs, videos, electronic mail, chat logs, and electronic messages that

constitutes fruits, evidence and instrumentalities of violations of 18 U.S.C. §§ 2252(a)(1) and

(b)(1)(transportation of visual depictions of minors engaged in sexually explicit conduct);

2252(a)(2)and (b)(1)(receipt and distribution of visual depictions of minors engaged in sexually

explicit conduct); 2252(a)(4)(B) and (b)(2)(possession of and access with intent to view a visual

depiction of a minor engaged in sexually explicit conduct); 2252A(a)(l) and (b)(1)

(transportation of child pornography); 2252A(a)(2)(A)and (b)(1)(distribution and receipt of

child pornography); and 2252A(a)(5)(B) and (b)(2)(possession ofand access with intent to view

child pornography)including, for each account or identifier listed on Attachment A,information

pertaining to the following matters, including attempting and conspiring to engage in the

following matters:

                     a. Any and all data, records, communications or information reflecting

                         evidence, fmits, instrumentalities, and contraband of the crimes listed

                         above;

                2. Credit card and other financial information including but not limited to bills and

                   payment records;

                3. Evidence of who used, owned, or controlled the account or identifiers listed on

                    Attachment A;

                4. Evidence ofthe times the account or identifiers listed on Attachment A was used;
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       5. Passwords and encryption keys, and other access information that may be

          necessary to access the account or identifiers listed on Attachment A and other

          associated account.
